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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )       No. 4:13-cr-00147-RP-CFB
                                             )
vs.                                          )
                                             )
MO YUN,                                      )       ORDER DENYING MOTION
                                             )       TO MODIFY CONDITIONS OF
               Defendant.                    )       PRETRIAL RELEASE



       This matter is before the Court on Defendant’s resisted Motion to Modify Conditions of
Pretrial Release to allow her to travel out of the country from December 13, 2014 to January 3,
2015 [ECF #129]. The Government responded [ECF #131] and the Court requested a
Supplemental Report from Pretrial Services which it received November 13, 2014. Both the
Government and Pretrial Services resist further modification of Defendant’s conditions of
release to allow her to travel to China. Based upon a review of the file and considering the
nature and circumstances of this case, the Court is not reasonably assured of her appearance if
she were released to travel to her home country. Defendant poses a risk of flight. The Court
finds that there are no circumstances that would reasonably assure her Appearance and the
Motion to Modify Conditions of Release is denied.
       IT IS SO ORDERED.
       Dated this 20th day of November, 2014.



                                                 CELESTE F. BREM ER
                                                 CHIEF UNITED STATES M AGISTRATE JUDGE
